              Case 2:19-cv-01026-BJR Document 7 Filed 08/27/19 Page 1 of 3




                                                    THE HONORABLE BARBARA J. ROTHSTEIN
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON

 8   MICHAEL EPSTEIN, individually and on
     behalf of all others similarly situated,
 9                                                        NO. 2:19-cv-01026-BJR

10                                   Plaintiff,
                                                          NOTICE OF VOLUNTARY
                                                          DISMISSAL
11           vs.

12   CRAY INC., STEPHEN C. KIELY, PETER J.
     UNGARO, SALLY G. NARODICK, DANIEL
13   C. REGIS, DR. PRITHVIRAJ BANERJEE,
14   CATRIONA M. FALLON, BRIAN V.
     TURNER, MAX L. SCHIRESON, and
15   STEPHEN E. GOLD,

16                                   Defendant.
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19           In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Michael

20   Epstein, by counsel, hereby gives notice that he is dismissing all claims in the above-referenced

21   matter, with prejudice to himself and without prejudice as to all others similarly situated.

22   Because this notice of dismissal is being filed with the Court before service by defendants of

     either an answer or a motion for summary judgment, Plaintiff’s dismissal of the Action is
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     effective upon the filing of this notice.
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                                                                      TERRELL MARSHALL LAW GROUP PLLC
                                                                            936 North 34th Street, Suite 300
     NOTICE OF VOLUNTARY DISMISSAL - 1                                     Seattle, Washington 98103-8869
                                                                         TEL. 206.816.6603  FAX 206.319.5450
     CASE NO. 2:19-CV-01026-BJR                                                 www.terrellmarshall.com
            Case 2:19-cv-01026-BJR Document 7 Filed 08/27/19 Page 2 of 3




 1         RESPECTFULLY SUBMITTED AND DATED this 27th day of August, 2019.

 2                                   TERRELL MARSHALL LAW GROUP PLLC
 3
                                     By: /s/ Beth E. Terrell, WSBA #26759
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14                                       Attorneys for Plaintiff

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              Case 2:19-cv-01026-BJR Document 7 Filed 08/27/19 Page 3 of 3




                                      CERTIFICATE OF SERVICE
 1
            I, Beth E. Terrell, hereby certify that on August 27, 2019, I electronically filed the
 2

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the following:

 5                  No Appearances
 6
                    Attorneys for Defendants
 7
            DATED this 27th day of August, 2019.
 8
                                             TERRELL MARSHALL LAW GROUP PLLC
 9
                                             By:     /s/ Beth E. Terrell, WSBA #26759
10                                                 Beth E. Terrell, WSBA #26759
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14                                           Attorneys for Plaintiff and the Proposed Class
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